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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                        Case No. 19-23994-CV-ALTONAGA/Goodman

 ROBERT M. GLEN,                                §
                                                §
         Plaintiff,                             §
                                                §
 v.                                             §
                                                §
 AMERICAN AIRLINES, INC.,                       §
                                                §
         Defendant.                             §

                        NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff Robert M. Glen (“Plaintiff”) respectfully submits this Notice of Supplemental

Authority in support of his Response to Defendant American Airlines, Inc.’s Motion to Dismiss

the Amended Complaint, or, in the Alternative, to Transfer Venue (Dkt. 56). On April 15, 2020,

Judge Bloom entered an Order in Havana Docks Corp. v. Norwegian Cruise Line Holdings, Ltd.,

No. 19-CV-23591 (S.D. Fla.) that granted the plaintiff’s motion for reconsideration and for leave

to amend, vacated a prior Order dismissing the case, and re-opened the action. The Order is

attached hereto as Exhibit A.

       The Order resolves several issues of statutory construction under the Helms-Burton Act,

including the scope of the private right of action for unlawful trafficking and the property interests

for which a plaintiff may bring a Helms-Burton Act claim. These issues were raised by American

Airlines in its motion to dismiss and were addressed by Plaintiff in his responsive memorandum.




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Dated: April 15, 2020                    Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on April 15, 2020, the foregoing document was filed using the

CM/ECF system, which will send notice of electronic filing to all counsel of record.

                                                    /s/ Joel Ewusiak
                                                    Joel Ewusiak




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